     Case 8:15-cv-00822-CJC-AS     Document 10      Filed 07/08/15    Page 1 of 2 Page ID
                                          #:32



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 8
                        UNITED STATES DISTRICT COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA
10

11
     PAUL SAPAN,                                    Case No.: 15-cv-822 CJC-AS
12

13               Plaintiff,
           vs.                                      NOTICE OF DISMISSAL OF
14                                                  BRIAN J. KARREN WITHOUT
                                                    PREJUDICE
15
     PINNACLE SECURITY CA GP, INC., a
16   Utah Corporation, PINNACLE
     SECURITY, LLC., a Utah Limited
17
     Liability Company., BRIAN J. KARREN,
18   an individual, JOSEPH PRETLOW, an
19
     individual,                                    Hon. Cormac J. Carney

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                 Defendants.
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                       Notice of Voluntary Dismissal re Defendant Karren
                                                                           15-cv-822 CJC-AS
     Case 8:15-cv-00822-CJC-AS      Document 10      Filed 07/08/15    Page 2 of 2 Page ID
                                           #:33



 1
                        NOTICE OF VOLUNTARY DISMISSAL
 2                       PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
 3
     PLAINTIFF HEREBY GIVES NOTICE that the above-captioned action is
 4

 5   voluntarily dismissed, without prejudice against Defendant BRIAN J. KARREN
 6
     pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(i). Defendant
 7

 8   BRIAN J. KARREN has not filed or served an answer nor motion for summary
 9
     judgment, therefore this Notice serves as the dismissal without prejudice pursuant
10
     to the Federal Rules of Civil Procedure 41(a)(1)(A)(i).
11

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13
     DATED: July 8, 2015                            PRATO & REICHMAN, APC
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                                                    By: /s/ Christopher J. Reichman_
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                                                    Christopher J. Reichman,
17                                                  Attorney for Plaintiff,
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                                                    PAUL SAPAN

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                        Notice of Voluntary Dismissal re Defendant Karren
                                                                            15-cv-822 CJC-AS
